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Western District of Tennessee aanar n. or 'i`noi io
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U.S.A. vs. Antoinette Granata Docket No. 05-20145-01-Ma

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Murray Fullner presenting an official report upon the conduct
of defendant who was placed under pretrial release supervision by the Honorable Tu M. Pham sitting in the court
at Memphis, Tennessee, on the 26th day of April, 2005, under the following conditions:

l) Report as directed by the Pretrial Services Office, 2) Maintain or actively seek employment, 3) Reside with
mother at 3450 Hardin, Memphis, TN 38122, 4) Undergo medical or psychiatric treatment if deemed advisable by
Pretrial Services, 5) Ret'i'ain from possessing a firearm, destructive device, or other dangerous weapon, 6) Refrain
from excessive use of alcohol, 7) Rer`rain irom any unlawful possession or use of a controlled substance, S)
Submit to substance abuse testing as directed by Pretrial Services, and 9) Participate in a program of inpatient or
outpatient substance abuse testing, education, or treatment if deemed advisable by Pretrial Services

RESPECTFULLY PRESENTING PETlT|ON FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
(See Attachment)

PRAYING THAT THE COURT WILL ORDER the issuance of a warrant in order that Antoinette Granata may
appear and show cause as to why her pretrial release should not be revoked

Bond Recommended: NONE

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct

Executed on June 13, 2005

 

 
 
 

Considered and ordered this l §
C- IU ,ancl ordered filed .
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Supervi£ry U.S. Pretrial Services Of`f'lcer

 

  

U.S. Magistrate lodge Place Memphis, Tennessee

 

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PS 8 - Petition for Action on Conditions of Pretrial Release
June 13, 2005
Page 2

Antoinette Granata has violated the following standard and special conditions of release:

The defendant shall not commit anv offense in violation of federal, state or local law while on release in this case
Defendant Granata was arrested by the Collierville Police Department on June 11, 2005. The arrest report states the
foilowing. An officer was dispatched at 1:07 a.m. on June 11"1 to 331 Mt. Pleasant Road where the victim,
Christopher Durling, reported that the defendant had been belligerent and violent toward him and others in the
house and was asked to leave. Ms. Granata reportedly began striking Mr. Durling. Defendant Granata’s boyfriend
is said to have attempted to separate them and the defendant reportedly knocked out the glass window causing
injury to her hand. The report states that Angelina Granata was unsteady on her feet and had a strong odor of
intoxicant about her person. The victim declined prosecution on the Assault and Vandalism charges and Ms.
Granata forfeited $119 on the charge of Public Intoxication. Per the affidavit of complaint, Ms. Granata advised
that she had consumed several beers and was said to have been obviously unable to care for her well-being

Later on June 11, 2005, Antonette Granata was arrested by the Memphis Police Department for Driving While
License Suspended, Revoked, or Canceled and Possession of Marijuana. The affidavit indicates that Ms. Granata
was driving while her license was revoked and that 1.9 grams of marijuana was found beside the driver’s seat.
Bond is set at $100 and the matters are presently set in Shelby County General Sessions Court for July 11, 2005.

Reside with mother at 3450 i-lardin. Memphis, TN 38122
Per the Collierville arrest report, the victim, Christopher Durling reported that Antonette Granata had been staying
at 331 Mt. Pleasant Road in Collierville off and on for three weeks until her arrest on June 11, 2005.

Refrain from excessive use of alcohol

Ms. Granata forfeited $119 in reference to a charge of Public Intoxication which occurred June 11, 2005, in
Collierville1 Tennessee, and reportedly stated that she had consumed several beers and was considered unable to
care for her well-being

Refrain from any unlawful possession or use of a controlled substance Refrain from any unlawful possession or use
of a controlled substance
Defendant Granata was arrested on June 11, 2005, for Possession of Marijuana. This charge is pending disposition.

 

        

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20145 vvas distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

